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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                   AT OWENSBORO

UNITED STATES OF AMERICA                                                               PLAINTIFF


v.                                              CRIMINAL ACTION NO. 4:271-CR-0010-GNS


JONATHAN BROWN                                                                      DEFENDANT

                               SENTENCING MEMORANDUM
                                   -Filed Electronically-

       Comes the United States of America, by counsel, Assistant United States Attorney Frank

E. Dahl III, and files its sentencing memorandum in this action currently scheduled for a sentencing

hearing on April 9, 2024. The United States has received and reviewed the Final Presentence

Investigation Report (PSR) for the above-named defendant and has no objections thereto. In

addition, the United States will not call any witnesses at the hearing. Several victim impact

statements have already been filed with the Court.

                     FACTUAL BACKGROUND – OFFENSE CONDUCT

       The United States agrees with the factual background and offense conduct as set forth in

the final PSR. (DN 68 PSR, ¶¶ 15-21).

                             GUIDELINE LEVEL CALCULATION

       As is discussed in the PSR, the parties in this case stipulated to certain guidelines

calculations which are different than those calculated in the PSR. Specifically, the parties agreed

in the “B” plea agreement that the appropriate final offense level should be 35. (DN 68 PSR, ¶¶

11). However, the United States Probation Office calculated the final offense level at 21. (DN 68

PSR, ¶ 36). After a thorough review of the PSR and relevant law, the United States agrees that the
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PSR calculations are correct; although, for the reasons set forth below the United States will

request that this Court vary upward from the guideline range.

                                      CRIMINAL HISTORY

       The United States agrees with the criminal history calculation prepared by the United States

Probation Office of a Criminal History Category II. (Id. at ¶ 43).

                                    SENTENCING FACTORS

       As noted above the United States agrees with that United States Probation Office’s final

Presentence Investigation Report guideline calculations are correct the resulting guideline range

as set forth in the PSR is 41-51 months (Id at ¶ 71).

       This Court must impose a sentence for the defendant which is sufficient, but not greater

than necessary, to comply with the purposes set forth in 18 U.S.C. § 3553(a)(2). That section

directs courts to consider the following:

       (1)     the nature and circumstances of the offense and the history and characteristics of
               the defendant;
       (2)     the need for the sentence imposedB
                       (A)    to reflect the seriousness of the offense, to promote respect for the
                              law, and to provide just punishment for the offense;
                       (B)    to afford adequate deterrence to criminal conduct;
                       (C)    to protect the public from further crimes of the defendant; and
                       (D)    to provide the defendant with needed educational or vocational
                              training, medical care, or other correctional treatment in the most
                              effective manner;
        (3)    the kinds of sentences available;
        (4)    the kinds of sentence and the sentencing range established for--
                      (A)     the applicable category of offense committed by the applicable
                      category of defendant as set forth in the guidelinesB
                      ...
       (5)     any pertinent policy statement--
                      ...

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       (6)     the need to avoid unwarranted sentence disparities among defendants with similar
               records who have been found guilty of similar conduct; and

       (7)     the need to provide restitution to any victims of the offense.

       As discussed above, the parties in this case entered into a “B” plea agreement in which the

parties stipulated to a final offense level calculation of 35. This agreement was entered into by the

parties in exchange for the dismissal of the underlying indictment, which carries a 20-year

mandatory minimum. Th United States entered into the instant agreement after consultation with

the victim’s family, the lead agent, and the thorough review of the defendant’s culpability.

However, subsequent to this Court accepting the plea agreement, the parties learned that the

probation office disagreed with the calculations and that the guideline range would be much lower.

       The United States is respectfully asking this Court to follow the agreement of the parties

and grant an upward variance from the guideline range pursuant to U.S.S.G. 5K2.2 to achieve that

result. The United States asserts that the defendant’s admission to the Court in the plea agreement

and the plea colloquy, that his conduct resulted in the death of the victim, supports the variance.

(See also, PSR ¶ 90). With a final offense level of 35, and a Criminal History Category II, the

resulting guideline range would be 188-235 months. If the Court grants the United States’ motion

for an upward variance as discussed, the United States will recommend a sentence of 188 months,

which is the lowest end of that guideline range. This is the agreement the parties made, and it is

fair and just based on the totality of the circumstances in this case.

       Based upon the loss of life in this case, the concessions made by the United States in

reaching this agreement, and to be further explored at sentencing, the United States respectfully

submits that the guideline range as set forth in the PSR is woefully insufficient to reflect a sentence

that is sufficient but not greater than necessary.

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                                          CONCLUSION

       WHEREFORE, based on the reasons set forth above, the United States respectfully

requests the Court to impose a sentence of 188 months.

                                                 Respectfully submitted,

                                                 MICHAEL A. BENNETT
                                                 United States Attorney




                                                 ___________________
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                                  CERTIFICATE OF SERVICE

        It is hereby certified that on April 8, 2024, the foregoing was electronically filed with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
counsel for the defendant.




                                                 _________________
                                                 Frank E. Dahl III
                                                 Assistant United States Attorney




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